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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES INC.                   §
SECURITIES LITIGATION                         §       Master File No. 1:21-cv-00751-DAE
                                              §
                                              §                CLASS ACTION
This Document Relates to:                     §
                                              §
              ALL ACTIONS                     §
                                              §

                                           ORDER

       The Court, having considered Defendants’ Unopposed Motion to Withdraw as Counsel,

hereby GRANTS the motion.        Attorneys William J. Foley, James N. Kramer, Alexander

K. Talarides, and Adam Miller are terminated as counsel for Defendants.

       IT IS SO ORDERED.

       SIGNED this 23rd day of February, 2024.




                                          ______________________________________
                                          David Alan Ezra
                                          Senior United States District Judge
